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                                                                October 2, 2008
 Hon. Steven M. Gold
 United States Magistrate Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
        VIA ECF

                Re: Gortat et al. v. Capala Brothers, Inc.. et al.
                    EDNY Docket No.: 07 cv 3629

 Dear Judge Gold,

        I represent Plaintiffs in the above-captioned matter. I am writing to request guidance
 regarding Defendants’ counsel’s motion, filed on September 29, 2008, and to discuss the present
 motion at the status conference scheduled before Your Honor on October 16, 2008.

         Defendants’ motion is frankly incomprehensible and left me unsure how to disaggregate
 the various claims and arguments. Defendants’ motion asks for a number of types of relief, many
 of which are unrelated and probably should not be included in a single motion. The present
 motion also falls outside the bounds of reasonable conduct between attorneys and accuses me of
 all types of misconduct including making fraudulent claims to this Court. Until this point, I have
 ignored Defendants’ counsel’s ornery ravings and his unwillingness to engage in civil
 discussions, but there comes a point when even the most restrained man must respond.

         Defendants’ motion evidences Defendants’ counsel’s bizarre behavior, which Your
 Honor has recognized in the past. (Exhibit A being Your Honor’s surprise “to read a letter in
 which one lawyer complained of another's attire.” (June 24, 2008 Tr. 41:21-22)). Defendants’
 counsel alleges that he is moving for sanctions as a result of conduct that is more than “just a
 violation of ‘dress code,’” (Defendants’ motion, pg. 13) but his submission contains nothing
 more to support that claim than alleged errors in damages calculations and easily explained
 misunderstandings. Defendants’ counsel complains that Defendants needed to expend ten of
 thousands of dollars because of my behavior and Your Honor’s “lack of proper measures”
 against me, but at the same time files a motion for sanctions, without attempting to resolve any of
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 the issues with me in good faith, which could have avoided costly and unnecessary motion
 practice. And never mind that Defendants’ counsel refuses to accept phone calls from my office,
 which often requires multiple letters and faxes to resolve issues that could be simply be settled in
 five minutes of good faith discussion.

         As a substantive matter, Defendants’ counsel simply misstates Plaintiffs’ obligation to
 respond to his joint motion to dismiss and summary judgment. The present motion calls for
 reinstating Defendants’ motion to dismiss and summary judgment, which Defendants incorrectly
 stated was held in abeyance until after depositions. At the February 8, 2008 conference before
 Your Honor, Defendants’ counsel himself stated that Plaintiffs would be permitted to respond to
 Defendants’ motion to dismiss and summary judgment after the close of discovery, not the
 completion of depositions. (Tr. 10:4-8). Discovery is scheduled to close on October 3, 2008, and
 Plaintiffs will be filing a letter to Your Honor today respectfully requesting an extension of
 discovery partly to permit Plaintiffs to engage in discovery on issues that arose during and after
 Plaintiffs’ depositions of Defendants. In Defendants’ counsel’s world, Defendants’ counsel’s
 misstatement constitutes fraud on the Court and is a basis for his disqualification from
 representing his clients. Of course, Plaintiffs understand that Defendants’ counsel’s misstatement
 was simply a mistake and that not every incorrect statement constitutes fraud.

         But Defendants’ motion also suffers from myriad procedural flaws that leave Plaintiffs
 unsure how to respond. First, under Fed. R. Civ. P 11(c)(1)(A), Defendants should have served
 me with a copy of the motion and afforded me 21 days to remedy any allegedly fraudulent
 “paper, claim, defense, contention, or denial.” Since many of Defendants’ counsel’s bases for
 calling for sanctions against me stem from the damages calculations Plaintiffs served on
 Defendants on July 16, 2008, Defendants should have provided Plaintiffs with 21 days to
 “withdraw[] or appropriately correct[]” these calculations. See, Gal v. Viacom Intern., Inc., 403
 F.Supp.2d 294 (S.D.N.Y., 2005) (denying a motion for sanctions on the grounds that movant did
 not follow the “plain language of the rule” that required him to provide his adversary with 21
 days notice by serving a copy of the motion for sanctions on his adversary before filing the
 motion with the court).

         And that is exactly what will occur. In early August, after Plaintiffs served Defendants
 with damages tables on July 16, 2008, Defendants produced electronic payroll records for the six
 Plaintiffs. Plaintiffs’ damages tables were calculated based on the incomplete payroll information
 in Plaintiffs’ possession and Plaintiffs’ memories. Now that Plaintiffs are in possession of
 complete payroll information, Plaintiffs have retained the services of an expert who will
 recalculate Plaintiffs’ claims, and to the extent that Plaintiffs’ damages calculations are in error,
 will rectify those errors. These updated damages calculations will be served on Plaintiffs by
 tomorrow, October 3, 2008. If Defendants still have questions about the calculations, they can
 depose Plaintiffs’ expert. There is no reason for me to testify regarding how the expert calculated
 damages.

      Defendants’ motion (if that is what it truly is) also fails facially for lack of a supporting
 memorandum of law. Pursuant to Local Rule 7.1, all motions “shall be supported by a
 memorandum of law,” which is, of course, conspicuously lacking from Defendants’ submission
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 (as are the exhibits which he references in his declaration). The Court should refuse to rule on
 Defendants’ motion until he complies with the basic procedural rules.

         Given the lack of clarity regarding what Defendants are asking of the Court, as well as the
 multiple procedural defects in Defendants’ motion, at this stage it would simply be a waste of
 time to respond to each of Defendants’ claims contained in his stream of consciousness
 submission (in which he oddly confuses me with Aleksander Kwasniewski, the former President
 of Poland (pg. 12)). Plaintiffs therefore respectfully request guidance from Your Honor on how
 to proceed with regards to this motion at the scheduled October 16, 2008 conference before Your
 Honor.

                                                              Respectfully submitted,

                                                              _________/s/______________
                                                              Robert Wisniewski (RW-5308)

 cc: Felipe Orner, Counsel for Defendants
